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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA

 SONY MUSIC ENTERTAINMENT, et al.,

                Plaintiffs,

        v.                                              Case No. 1:18-cv-00950-LO-JFA

 COX COMMUNICATIONS, INC., et al.,

                Defendants.



         COX’S RESPONSE IN SUPPORT OF NONPARTY MARKMONITOR, INC.’S
            MOTION TO EXTEND TIME TO FILE ITS RESPONSE TO
                        DEFENDANTS’ MOTION TO SEAL

       Cox files this response in support of MarkMonitor, Inc.’s Motion to Extend Time to File

its Response to Defendants’ Motion to Seal (ECF No. 254). Cox prepared, but inadvertently did

not send, email messages notifying counsel for non-parties MarkMonitor, Inc., and Audible Magic,

that certain exhibits that they had designated under the Stipulated Protective Order were filed in

support of Cox’s Motion for Discovery Sanctions (ECF No. 241) and were the subject of a Motion

to Seal (ECF No. 243). Cox understands that MarkMonitor is now aware of the Motion to Seal,

and has also now informed Audible Magic’s counsel of the Motion to Seal. Cox therefore joins

MarkMonitor’s request to extend the deadline to file a response to Cox’s Motion to Seal, and

further requests that the deadline also be extended for Audible Magic to file such a response. Cox

further requests that the deadline be extended until August 28, 2019 such that MarkMonitor and

Audible Magic have seven days to file their responses as contemplated by Local Rule 5(C).




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Dated: August 21, 2019                      Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that on August 21, 2019, a copy of the foregoing COX’S RESPONSE IN

SUPPORT OF NONPARTY MARKMONITOR, INC.’S MOTION TO EXTEND TIME TO FILE

ITS RESPONSE TO DEFENDANTS’ MOTION TO SEAL was filed electronically with the Clerk

of Court using the ECF system, which will send notifications to ECF participants.



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